         Case
         Case1:20-cv-02456-DLB
              1:20-cv-02456-MJM Document
                                 Document43-1
                                          44 Filed
                                              Filed06/29/21
                                                    06/29/21 Page
                                                              Page11ofof11



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                Northern Division

 KIMBERLY KUBAS                      )
                          Plaintiff, )
                                     )
               v.                    ) Civil Action No. 1:20-cv-2456 (DLB)
                                     )
 331B, LLC                           )
 (D/B/A ROCKWELL FITNESS)            )
                                     )
                        Defendant. )
                                     )

                                         ORDER

        Upon Consideration of the Plaintiff Kimberly Kubas’s Consent Motion to Extend

the Discovery Deadline, ECF 43, on this _________
                                         29th             June
                                                  day of _____________________ 2021,

it is hereby:

        ORDERED that the Motion is GRANTED;

        ORDERED that the discovery deadline is extended until August 6, 2021;

        ORDERED that the parties must file a status report by August 6, 2021;

        ORDERED that the deadline for requests for admission is August 13, 2021; and

        ORDERED that the dispositive motions deadline is September 7, 2021.


                                    ______________________________________
                                    Deborah L. Boardman
                                    United States Magistrate Judge
